                     Case 1:25-cv-01024-JMC                      Document 1-1                   Filed 04/07/25                 Page 1 of 2
                                                                CIVIL COVER SHEET
JS-44 (Rev. 11/2020 DC)
 I. (a) PLAINTIFFS                                                                DEFENDANTS
 Tom Shalom, et al.,                                                             Bashar Masri, Palestine Real Estate Investment Company
                                                                                 (PRICO), Palestine Development & Investment Company
                                                                                 (PADICO), Palestinian Industrial Estate Development
                                                                                 Company (PIEDCO), Massar International Ltd                            D
                                                          88888
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                         11001
                                                                                   COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                         ATTORNEYS (IF KNOWN)

 Lee Wolosky (D.C. Bar No. NY0161)
 Willkie Farr & Gallagher LLP
 787 7th Avenue, New York, NY 10019
 Telephone: (212) 728-8000
 Facsimile: (212) 728 8111                                                  D
 II. BASIS OF JURISDICTION                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
      (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o 1 U.S. Government
 0                          o
                            0 3 Federal Question
                                                                                            PTF    DFT                                                        PTF           DFT

     Plaintiff                       (U.S. Government Not a Party)   Citizen of this State        o1
                                                                                                  0          0o 1      Incorporated or Principal Place       0o 4 0
                                                                                                                                                                  o4
                                                                                                                       of Business in This State
 o 2 U.S. Government
 0                          o
                            0 4 Diversity                            Citizen of Another State     o2
                                                                                                  0          0o 2      Incorporated and Principal Place      0o 5 0
                                                                                                                                                                  o5
     Defendant                       (Indicate Citizenship of
                                                                                                                       of Business in Another State
                                     Parties in item III)            Citizen or Subject of a
                                                                     Foreign Country
                                                                                                  o3
                                                                                                  0          0o 3      Foreign Nation                        0o 6 0
                                                                                                                                                                  o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust
 0                        o B. Personal Injury/
                          0                                               0o C. Administrative Agency                             o D. Temporary Restraining
                                                                                                                                  0
                                      Malpractice                                    Review                                                   Order/Preliminary
  D                                                                                                                                           Injunction
       410 Antitrust
                           D 310 Airplane                                  D 151 Medicare Act
                           D 315 Airplane Product Liability                                                                        Any nature of suit from any category
                           D 320 Assault, Libel & Slander                  Social Security
                                                                                                                                   may be selected for this category of
                           D 330 Federal Employers Liability               D 861 HIA (1395ff)                                      case assignment.
                           D 340 Marine                                    D 862 Black Lung (923)
                           D 345 Marine Product Liability                  D 863 DIWC/DIWW (405(g))                                *(If Antitrust, then A governs)*
                           D 350 Motor Vehicle                             D 864 SSID Title XVI
                           D 355 Motor Vehicle Product Liability           D 865 RSI (405(g))
                                                                           Other Statutes
                           D 360 Other Personal Injury                     D 891 Agricultural Acts
                           D 362 Medical Malpractice                       D 893 Environmental Matters
                           D 365 Product Liability                         D 890 Other Statutory Actions (If
                           D 367 Health Care/Pharmaceutical                         Administrative Agency is
                                     Personal Injury Product Liability
                                                                                    Involved)
                           D 368 Asbestos Product Liability
 0o E. General Civil (Other)                                    OR              0o F. Pro Se General Civil
 Real Property                           Bankruptcy                                   Federal Tax Suits
 D 210 Land Condemnation                 D 422 Appeal 2 USC 158                      D 870 Taxes (US plaintiff or                 D 465 Other Immigration Actions
 D 220 Foreclosure                       D 423 Withdrawal 28 USC 157                           defendant)
                                                                                                                                   D 470 Racketeer Influenced
 D 230 Rent, Lease & Ejectment                                                        D 871 IRS-Third Party 26 USC                            & Corrupt Organization
 D 240 Torts to Land                     Prisoner Petitions                                    7609
                                                                                                                                   D 480 Consumer Credit
 D 245 Tort Product Liability            D 535 Death Penalty                                                                       D 485 Telephone Consumer
 D 290 All Other Real Property           D 540 Mandamus & Other                       Forfeiture/Penalty
                                         D 550 Civil Rights                           D 625 Drug Related Seizure of                           Protection Act (TCP$)

 Personal Property                       D 555 Prison Conditions                               Property 21 USC 881                 D 490 Cable/Satellite TV
 D 370 Other Fraud                       D 560 Civil Detainee – Conditions            D 690 Other                                  D 850 Securities/Commodities/
                                                                                                                                              Exchange
 D 371 Truth in Lending                           of Confinement
                                                                                      Other Statutes                               D 896 Arbitration
 D 380 Other Personal Property                                                        D 375 False Claims Act
                                         Property Rights                                                                           D 899 Administrative Procedure
          Damage
                                         D 820 Copyrights                             D 376 Qui Tam (31 USC                               Act/Review or Appeal of
 D 385 Property Damage
                                         D 830 Patent                                         3729(a))                                    Agency Decision
          Product Liability
                                         D 835 Patent – Abbreviated New               D 400 State Reapportionment                  D 950 Constitutionality of State
                                                 Drug Application                     D 430 Banks & Banking                               Statutes
                                         D 840 Trademark                              D 450 Commerce/ICC Rates/etc                 00 890 Other Statutory Actions
                                         D 880 Defend Trade Secrets Act of            D 460 Deportation                                   (if not administrative agency
                                                 2016 (DTSA)                          D 462 Naturalization                                review or Privacy Act)
                                                                                               Application
                       Case 1:25-cv-01024-JMC                         Document 1-1                 Filed 04/07/25                Page 2 of 2
 o
 0 G. Habeas Corpus/                           0o H. Employment                               o
                                                                                              0 I. FOIA/Privacy Act                        o
                                                                                                                                           0 J. Student Loan
                2255                                 Discrimination

  D 530 Habeas Corpus – General                 D 442 Civil Rights – Employment                D 895 Freedom of Information Act             D 152 Recovery of Defaulted
  D 510 Motion/Vacate Sentence                            (criteria: race, gender/sex,         D 890 Other Statutory Actions                            Student Loan
  D 463 Habeas Corpus – Alien                             national origin,                                  (if Privacy Act)                            (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o K. Labor/ERISA
 0                                             o
                                               0 L. Other Civil Rights                        o M. Contract
                                                                                              0                                            o
                                                                                                                                           0 N. Three-Judge
                (non-employment)                            (non-employment)                                                                     Court
                                                                                               D 110 Insurance
  D 710 Fair Labor Standards Act                D 441 Voting (if not Voting Rights             D 120 Marine                                 D 441 Civil Rights – Voting
  D 720 Labor/Mgmt. Relations                            Act)                                  D 130 Miller Act                                         (if Voting Rights Act)
  D 740 Labor Railway Act                       D    443 Housing/Accommodations                D 140 Negotiable Instrument
  D 751 Family and Medical                      D    440 Other Civil Rights                    D 150 Recovery of Overpayment
           Leave Act                            D    445 Americans w/Disabilities –                     & Enforcement of
  D 790 Other Labor Litigation                           Employment                                     Judgment
  D 791 Empl. Ret. Inc. Security Act            D    446 Americans w/Disabilities –            D    153 Recovery of Overpayment
                                                         Other                                          of Veteran’s Benefits
                                                D    448 Education                             D    160 Stockholder’s Suits
                                                                                               D    190 Other Contracts
                                                                                               D    195 Contract Product Liability
                                                                                               D    196 Franchise


 V. ORIGIN
 0o 1 Original         0o 2 Removed 0o 3 Remanded                0o 4 Reinstated 0o 5 Transferred            0o 6 Multi-district 0o 7 Appeal to            0o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another               Litigation           District Judge          Litigation –
                           Court             Court                                     district (specify)                              from Mag.               Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   18 USC 2333(a) (Anti-Terrorism Act)

 VII. REQUESTED IN
      COMPLAINT                      D       CHECK IF THIS IS A CLASS
                                             ACTION UNDER F.R.C.P. 23
                                                                                 DEMAND $
                                                                                     JURY DEMAND:
                                                                                                                                 Check YES only if demanded in complaint
                                                                                                                                 YES   D✘          NO      D
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES   D                NO       D               If yes, please complete related case form



                                               I
               4/7/2025
 DATE: _________________________                                                                      /s/ Lee Wolosky
                                                   SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
